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                                   May 25, 2023


Christopher M. Wolpert
Clerk of the Court
U.S. Court of Appeals for the Tenth Circuit
The Byron White U.S. Courthouse
1823 Stout Street
Denver, CO 80257

Re:     Menocal v. The GEO Group, Inc., No. 22-1409
        Response to Notice of Supplemental Authority Fed. R. App. P. 28(j)

Dear Mr. Wolpert:

      On May 18, 2023, Plaintiffs-Appellees called the Court’s attention to
Morales-Posada v. Cultural Care, Inc., a First Circuit decision that bears only
superficial resemblance to the current case.

      Regarding collateral-order jurisdiction, the First Circuit accurately
noted the circuit split that GEO has acknowledged (and Plaintiffs ignore).
Morales-Posada at 16 & n.5; MTD Opp’n 14-16; Reply Br. 3-4. But the First
Circuit avoided taking sides in that split by jumping directly to the merits—an
approach that no party has advocated here but generally supports immediate
appellate review.

       On the merits, Morales-Posada appears at first blush to resemble
Plaintiffs’ unjust enrichment claim for the period after May 2013 because the
government did not expressly forbid greater compensation for the plaintiff
class members. However, the unusual context led to a jumbled recitation of
the law governing DSI and the role of contractor discretion. The First Circuit
cited the Ninth Circuit’s erroneous zero-discretion standard, 25 (citing Cabalce
and In re Hanford), in the same paragraph with the Fifth Circuit’s antipodal
holding in Taylor Energy. Id.; see Opening Br. 24-26; Reply 10-11.
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       Under any standard, the First Circuit’s examination of “authorized and
directed” in Morales-Posada reflects radically inapposite facts. First, the
“contractor” did not actually have a contract. Morales-Posada at 14. That
eliminates a major source of government direction and, combined with the lack
of a “common-law agency relationship,” id., might itself be enough to foreclose
DSI. Second, the relevant agency had not promulgated regulations directing
the conduct at issue, unlike the many regulations and standards at issue here,
including the National Detention Standards. Third, the government did not
review and approve the defendant’s actions in Morales-Posada. Id. at 30. That
contrasts with the government’s review and approval of GEO’s local
supplement to the National Detainee Handbook. Opening Br. 37-42; Reply 20.
Fourth, Morales-Posada did not involve a federal statute expressing a policy of
using contractors where possible. Cf. 8 U.S.C. § 1231(g)(2).

      The First Circuit’s conclusion that the government did not authorize and
direct the defendant’s actions in Morales-Posada only highlights the
government’s extensive and detailed direction of GEO’s conduct in this case.

                                    Respectfully submitted,



                                    Dominic E. Draye
                                    Counsel for Defendant-Appellee
                                    The GEO Group, Inc.
